     LAWRENCE J. WARFIELD
 1
     Chapter 7 Panel Trustee
 2   PO Box 3350
     Carefree, AZ 85377
 3
                             IN THE UNITED STATES BANKRUPTCY COURT
 4
                                   FOR THE DISTRICT OF ARIZONA
 5
      In re:                                             Chapter 7
 6

 7
      STEED, JOHN                                        Case No. 0:18-BK-05592-PS
      STEED, JENNIFER
 8                                                       NOTICE TO CREDITORS AND INTERESTED
                   Debtor(s)                             PARTIES OF SALE AT AUCTION
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10    NOTICE IS HEREBY GIVEN that property belonging to the estate of the above-named debtor(s) will
     be sold at internet auction by BKAssets.com, LLC (BKAssets), Internet auctioneer.
11
      NOTICE IS HEREBY GIVEN that any party objecting to the sale of the estate’s property interest must
12   file a written objection with the Clerk, of the United States Bankruptcy Court no later than SEVEN (7)
     DAYS from the mailing date of this notice. The Clerk’s address is 230 North First Avenue, Suite 101,
13
     Phoenix, AZ 85003-1727. A copy of the objection shall be mailed to: Lawrence J. Warfield at P.O. Box
14   3350, Carefree, AZ 85377 and BKAssets.com LLC at 216 N. Center St. Mesa, AZ 85201.

15   PROPERTY TO BE SOLD:

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           Estate's interest in ownership of residential home in Orleans, Nebraska near Harlan County. The
17         residence is located at 102 North Nebraska Avenue, Orleans, NE 68966. The residence has a total
           living area of 1,297 feet and was constructed in 1905. The lot itself is 0.99 acres. The residence is a
18         3-bed, 1-bath home with a wood frame. It is an enclosed porch and wood deck and gravel/dirt
           driveway. The APN# is 300024400. The legal description is 'South 2/3 Block 1 First Addition’.
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20   Internet Venue: bkassets.com & the Internet Venue chosen by BKAssets.com.

21   Internet Auctioneer’s Compensation: BKAssets, upon Court approval shall receive compensation based
     on the final sales price of the property. Such compensation shall be equal to 10% of the final sales price
22
     received by the Trustee.
23
     Internet Auctioneer’s Expenses: The Internet auctioneer may have expenses in relationship to the sale,
24   these are estimated as follows: not to exceed $325 for costs directly related to sale.
25
     Property will be released for cash to the highest bidder at public auction sale.
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     Start Date: The auction sale will begin on the Internet Auction Site approximately five (5) business
27   days after the bar date notice contained on the Notice of Internet Auction Sale of Estate’s Property
     interest that will be mailed by the Clerk, of the U.S. Bankruptcy Court to all creditors and interested
28   parties.

     Preview Period & Viewing: The preview period shall run up to the bar date notice contained on the
     Notice of Internet Auction Sale of Estate’s Property interest plus approximately 5 additional business
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     days. During this time, the asset and any available due diligence information will be able to be viewed
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     on bkassets.com.
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     Sale Period: The actual Internet auction sale will be held on the Internet venue chosen by BKAssets.com.
 3   The sale period will be ten, fourteen, or thirty (10, 14, or 30) days. Links will be provided at bkassets.com
     and the Internet Auction Venue in order for bidders to participate in the Internet bidding process.
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 5   Reserve or Minimum Price: Using his business judgment, the Trustee has set a reserve (minimum price)
     before the auction can be closed in the amount of $2,495.00, reserving the right to rerun the auction with
 6   a lower minimum if the item does not sell initially. In the event that the reserve is not met, BKAssets will
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     not close the sale with any potential bidder. BKAssets will report to the Trustee the result of any bids
     received and recommend to the Trustee a revised reserve bid or another method of sale or abandonment.
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     Closing Procedure: The highest final bid received (assuming the reserve bid is met) at the closing of the
 9   bidding on the Internet Auction Venue will be considered the final bid accepted by BKAssets. BKAssets
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     will proceed to close the sale with the final bidder. The highest bidder will be required to send BKAssets
     certified funds within seven (7) days of the close of auction. Within twenty-one (21) days of receiving
11   certified funds, BKAssets will provide the highest bidder with a TRUSTEE’S DEED. After closing the
     sale, BKAssets will provide a report of sale to the Trustee indicating the results of the sale. This report
12   will be filed with the Court by the Trustee.
13
     If the highest bidder for some reason does not close, BKAssets reserves the right to proceed to the
14   next highest bid received and close with that bidder. The report filed by BKAssets would reflect such
     an event.
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16   Warranties Implied or Stated: The property will be sold as is, where is, with no warranties implied or
     stated, subject to any existing liens and encumbrances known or unknown by the Trustee (see liens and
17   encumbrances for known amounts). Buyer pays all costs to transfer title.
18
     Liens & Encumbrances: There are past due taxes in the amount of $457.61 in order to make the account
19   current and maybe higher at the time of auction.

20   Debtor(s) Exemptions: None known by the trustee at this time.
21
     Due Diligence Information: The property to be sold is stated herein above. The Trustee has made
22   available all due diligence information that he has received relating to the subject properties to
     BKAssets. In addition, BKAssets has and will obtain as much information as possible regarding this
23
     asset. All due diligence information will be posted on bkassets.com and the Internet Auction Venue.
24   That due diligence information will be available to all potential purchasers to view and/or download.

25   Disclosures: BKAssets will disclose to all potential bidders on bkassets.com and the Internet Auction
     Venue that these sales are subject to a Bankruptcy Court Proceeding. The bankruptcy case number
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     and case name will be provided as well as BKAssets’ name, address, phone and fax number
27   information. All sales will be subject to the terms and conditions set forth in this application as
     directed by the Trustee.
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     Information regarding Internet Auctioneer & Internet Venue Provider:
     The BKAssets’ website specializes in the sale of bankruptcy estate assets. Bkassets.com provides an
     automated auction venue operated by computer under the Trustee's direction. It is like a traditional
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     auctioneer in the sense that BKAssets is responsible for obtaining information regarding the asset
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     posted for sale, answering the numerous inquiries received via the Internet and closing of the sale
 2   which entails obtaining good funds from the buyer and providing title (and/or goods) as outlined in
     the ad for the sale. BKAssets uses an internet auction venue to obtain the bids from the public. The
 3   Internet Auction Venue does not handle any funds of the estate and/or assets. The Internet Auction
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     Venue charges an advertising fee to BKAssets for the listing of the bankruptcy property. This
     advertising fee is an expense to be reimbursed to BKAssets along with its ten percent (10%)
 5   commission based upon the highest and best bid received from the Internet. BKAssets will collect a
     document preparation fee and shipping costs from the buyer to offset the potential expenses paid by
 6
     the estate to BKAssets.
 7
     To participate in the auction, a party should first go the bkassets.com website to view the assets being
 8   held pending a sale date (waiting for bar date notice to pass on the Notice of Internet Auction Sale).
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     Once the bar date has passed plus approximately five (5) business days, the Internet auction sale will
     begin on the Internet Auction Venue. Potential purchasers may obtain the location of the internet
10   online bidding link through bkassets.com. The sale information will also be available on the Internet
     Auction Venue in the applicable categories. It is strongly suggested that potential bidders would find
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     the sale easier using the BKAssets website.
12
     Therefore it is the Trustee's belief that the proposed sale is in the best interest of the estate and the
13   proposed public auction via the Internet is fair and reasonable and affords the estate the best
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     opportunity to maximize the value of this type of property, which is generally difficult for a
     bankruptcy trustee to sell.
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     August 10, 2018                                                 /s/ Lawrence J. Warfield
17   Date                                                            LAWRENCE J. WARFIELD, Trustee

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